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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,

         Plaintiff,
                v.                                 Civil Action No. 20-3590 (JEB)


 META PLATFORMS, INC.,

         Defendant.




                                         ORDER

        For the reasons stated in the accompanying Memorandum Opinion, the Court ORDERS

that:

        1. The [486, 487, and 488] Motions to Quash are DENIED; and

        2. Nonparty witnesses Julia Tang, Kimberly Baumgarten, and Ronak Shah may testify

           remotely.

                                                        /s/ James E. Boasberg
                                                        JAMES E. BOASBERG
                                                        Chief Judge
Date: April 2, 2025




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